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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SWAROVSKI AKTIENGESELLSCHAFT and
SWAROVSKI NORTH AMERICA LIMITED,                      Case No. 19-cv-02498

                       Plaintiffs,                    Judge Rebecca R. Pallmeyer

       v.                                             Magistrate Judge Mary M. Rowland

DONGGUAN ALLEN HOUSE OF JEWELRY
& FINDINGS CO., LTD., et al.,

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Swarovski

Aktiengesellschaft’s and Swarovski North America Limited’s (collectively, “Swarovski” or

“Plaintiffs”), hereby dismisses this action, with leave to reinstate within one hundred and eighty

(180) days, as to the following Defendants:

            Defendant Name                                          Line No.
      Yiwu Dvacaman Jewelry Co., Ltd.                                  10
                 anime31                                               80
                exc_ambay                                              89
             fashionnfun815                                            91
               greatdeal320                                            93
                 lakerstar                                            100
              marklovecathy                                           104
              newcandy789                                             107
           zhongguomoliflower                                         121
   Case: 1:19-cv-02498 Document #: 44 Filed: 06/06/19 Page 2 of 2 PageID #:2826




Dated this 6th day of June 2019.            Respectfully submitted,

                                            /s/ Justin R. Gaudio
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            RiKaleigh C. Johnson
                                            Greer, Burns & Crain, Ltd.
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                                            Chicago, Illinois 60606
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